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IN CLER
U.S. DISTRICT COURT E.D.N Ni

7B 10 2021
INFORMATION SHEET * FEB LY

UNITED STATES DISTRICT COURT LONG ISLAND OFFICE

EASTERN DISTRICT OF NEW YORK

1. Title of Case: United States v. Douglass Mackey

Di Related Magistrate Docket Number(s):_12-M-82 (RER) C R 2 ] 0 & 0

3. Arrest Date: _ 1/27/2021
rrest Date: __ 1/27/2021 — GARAURFIS, J.

4. Nature of offense(s): / & Felony Se oe
- ot Misdemeanor SULSARA, MJ.

5. Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local E.D.N.Y.

Division of Business Rules): =,

)
6. Projected Length of Trial: | Less than 6 weeks (w -
More than 6 weeks “O12 ) )

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7. County in which crime was allegedly committed: Kgs, Queens
(Pursuant to Rule 50.1(d) of the Local E.D.N. Me ‘ivision-of Business Rules)

8. Was any aspect of the investigation, inquiry and rear eet rise to the case
XI

pending or initiated before March 10, 2012.! OYe
0, Has this indictment/information been ordered sealed? CL Yes// ox
10. Have arrest warrants been ordered? Cl Yes / & x

11. Is there a capital count included in the indictment? O ves /i Ne

SETH D, DUCHARME
ACT UNITED STATES ATTORNEY

Ld. Paulsen
Assistant U.S. Attorney

(718) 254-6135

Judge Brodie will not accept cases that were initiated before March 10, 2012.

Rev. 10/04/12
